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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    WEST PALM BEACH DIVISION

                            CASE NO. 23-80101-CR-CANNON-REINHART


  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  DONALD J. TRUMP and
  WALTINE NAUTA,

        Defendants.
  ________________________________/

         GOVERNMENT’S OPPOSITION TO DEFENDANT NAUTA’S MOTION TO
              CONTINUE CIPA SECTION 2 PRETRIAL CONFERENCE

          Defendant Waltine Nauta has submitted to chambers a motion to continue the pretrial

  conference the Court has scheduled for July 14, 2023 at 10:00 a.m. He seeks the continuance

  because one of his attorneys, Stanley Woodward, will be in trial in the District of Columbia that

  week and unable to attend the hearing in person. Nauta does not indicate when Mr. Woodward

  would be available to appear at such a conference. Nor does he explain why his other counsel of

  record, Sasha Dadan, is not capable of handling the proceeding. An indefinite continuance is

  unnecessary, will inject additional delay in this case, and is contrary to the public interest. The

  government therefore opposes this motion.1




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    In the motion, Nauta claims that, when asked his position on the government’s CIPA § 2 motion, Mr. Woodward
  indicated that he opposed it. Motion at 2. It is possible that there is a word missing in Nauta’s filing – “not.” On
  the afternoon of June 16, in compliance with Local Rule 88.9(a), government counsel conferred with Mr. Woodward
  by phone concerning its planned CIPA Section 2 Motion. Government counsel discussed the motion with Mr.
  Woodward and the relief it sought. Mr. Woodward stated that he did not oppose the motion, and the government so
  represented in the motion it filed with the Court. See ECF No. 32 at 2, n.1.
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          The indictment charges defendant Donald J. Trump with 31 counts of willfully retaining

  national defense information in violation of 18 U.S.C. § 793(e). By virtue of those charges, this

  case will involve the use of classified information, both as part of discovery and at trial through

  the admission of documents and the testimony of various witnesses. Accordingly, the Classified

  Information Procedures Act (“CIPA”), 18 U.S.C. App. 3, will govern how certain aspects of the

  case proceed. In order to assist the Court and the parties in understanding how CIPA will affect

  the proceedings going forward and to assist the Court in setting a trial schedule, the government

  moved on June 23 for a pretrial conference pursuant to Section 2 of CIPA, 18 U.S.C. App. 3 § 2.

  The Court granted the motion on June 27 and scheduled the conference as set forth above.

          The Section 2 pretrial conference is a crucial step in this prosecution. Aside from

  elucidating the procedures the Court and the parties will follow in conducting classified discovery,

  litigating certain pre-trial motions, and using classified information at trial, the Section 2

  conference will affect other dates the Court sets. Almost a month has passed since the grand jury

  returned its indictment. There is a strong public interest in the conference occurring as originally

  scheduled and the case proceeding as expeditiously as possible.

          Neither of Nauta’s proffered justifications for his request is persuasive. The first concerns

  Mr. Woodward’s commitments elsewhere. The government acknowledges that Mr. Woodward is

  scheduled to begin a bench trial in the District of Columbia in United States v. Frederico Klein, et

  al., Case No. 21-cr-40 (TNM) (D.D.C.) on July 10.2 However, the government notes that Nauta’s

  Florida counsel, Sasha Dadan, should be able to be present. As this Court has noted, and as Nauta

  recognizes in his motion (Motion at 3), “Local counsel must be ready to adequately represent the


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    Nauta claims that “the government has long been aware” of Mr. Woodward’s conflict. Id. To the contrary, Mr.
  Woodward did not raise the issue during any of his calls with government counsel, and government counsel here
  first learned of the trial when Mr. Woodward mentioned it during the arraignment hearing for Mr. Nauta held on
  June 27.

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  party at any time.” ECF No. 54. Moreover, Nauta’s motion is silent as to any alternative steps

  Mr. Woodward might seek to take to participate in the hearing, if he believes his presence is

  necessary.

         Nauta’s second justification for a continuance is a claim that Mr. Woodward cannot

  “meaningfully” participate in a discussion about classified discovery or a CIPA discovery schedule

  at a Section 2 conference until obtaining a security clearance. Motion at 3. But he cites no case

  holding that a Section 2 conference is contingent on counsel having clearances, which is

  unsurprising since such a requirement would be inconsistent with Section 2’s language that “[a]t

  any time after the filing of the indictment or information, any party may move for a pretrial

  conference to consider matters relating to classified information that may arise in connection with

  the prosecution.” 18 U.S.C. App.3 § 2. Perhaps more to the point, as of this writing, Mr.

  Woodward has yet to complete his Form SF-86, which is necessary for him to receive both an

  interim clearance and final adjudication, despite having been put in contact with the Litigation

  Security Group on June 12, some three-and-a-half weeks ago.

         Through the CIPA Section 2 pretrial conference and its continuance motion, the

  government is, inter alia, requesting that the Court set firm dates for the efficient movement of

  this case. Delaying the CIPA Section 2 hearing by at least a number of weeks, without any

  persuasive justification for doing so, is contrary to that goal and the public interest.

                                                 Respectfully submitted,

                                                 JACK SMITH
                                                 Special Counsel


                                         By:     /s/ Jay I. Bratt______________________________
                                                 Jay I. Bratt
                                                 Counselor to the Special Counsel
                                                 Special Bar ID #A5502946

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                                     950 Pennsylvania Avenue, N.W.
                                     Washington, D.C. 20530

                                     Julie A. Edelstein
                                     Senior Assistant Special Counsel
                                     Special Bar ID #A5502949

                                     David V. Harbach, II
                                     Assistant Special Counsel
                                     Special Bar ID #A5503068




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                                 CERTIFICATE OF SERVICE

        I, Jay I. Bratt, certify that on July 10, 2023 I electronically filed the foregoing document

  with the Clerk of Court using CM/ECF.


                                              /s/ Jay I. Bratt______________________________
                                              Jay I. Bratt




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